8:18-cr-00750-DCC   Date Filed 08/07/18   Entry Number 2   Page 1 of 6
8:18-cr-00750-DCC   Date Filed 08/07/18   Entry Number 2   Page 2 of 6
8:18-cr-00750-DCC   Date Filed 08/07/18   Entry Number 2   Page 3 of 6
8:18-cr-00750-DCC   Date Filed 08/07/18   Entry Number 2   Page 4 of 6
8:18-cr-00750-DCC   Date Filed 08/07/18   Entry Number 2   Page 5 of 6
8:18-cr-00750-DCC   Date Filed 08/07/18   Entry Number 2   Page 6 of 6




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